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     Case 4:22-cv-11009-FKB-DRG ECF No. 113-4, PageID.2567 Filed 12/31/24 Page 2 of 2


Peter Doyle

From:                                 Peter Doyle
Sent:                                 Tuesday, December 10, 2024 4:34 PM
To:                                   Daniel D. Quick
Cc:                                   James Allen
Subject:                              RE: Worrell


Dan:
We provided the requested documents over two weeks ago. Please advise on when Plaintiff will serve its expert
damages report.

Thank you,

Peter E. Doyle
SCHENK & BRUETSCH PLC
O: (313) 774-1000, ext. 1116
C: (313) 316-6679
peter.doyle@sbdetroit.com


From: Daniel D. Quick <DQuick@dickinson-wright.com>
Sent: Friday, November 15, 2024 6:48 PM
To: Peter Doyle <Peter.Doyle@sbdetroit.com>; James Allen <james.allen@sbdetroit.com>
Subject: Worrell

Counsel:

Attached please find Plaintiff’s initial expert reports. You will note that we will have to
supplement the damages report once you produce the documents and information you
promised (as of 11/4, you expected to produce it on 11/7). Please advise on status.

Plaintiff’s preliminary witness list and exhibit list were filed today.

We look forward to receiving any expert reports from Defendants on or before December 13.
                 Daniel D. Quick
                 Member
                 O:248-433-7242
                 DQuick@dickinsonwright.com
       2600 West Big Beaver, Suite 300, Troy, MI 48084

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e-mail and any attachments, destroy any printouts that you may have made and notify us immediately by
return e-mail. Neither this transmission nor any attachment shall be deemed for any purpose to be a
"signature" or "signed" under any electronic transmission acts, unless otherwise specifically stated
herein. Thank you.
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